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IN THE UNITED STATES DISTRICT COURT
FOR THE DISTRICT OF MARYLAND

UNITED STATES OF AMERICA *
Vv. * Criminal No.: DLB-21-399
ROY C. MCGRATH *
Defendant.
* * * * * * +
ENTRY OF APPEARANCE

 

Please enter the appearance of Joseph Murtha, Esquire, as substitute counsel on
behalf of the Defendant, Roy C. McGrath, in the above-captioned case. Undersigned counsel
is substituting his appearance for Sydney M. Patterson, Esquire

Respectfully submitted,

~S-
Joseph Murtha
Federal Bar No. 23725
Rice Murtha & Psoras, LLC
1301 York Road, Suite 200
Lutherville, Maryland 21093
(410) 583-6969
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Counsel for the Defendant
Sydeney M. Patterson
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CERTIFICATE OF SERVICE

I HEREBY CERTIFY that on this 8th day of November, 2021, a copy of the
foregoing Entry of Appearance was sent by electronic transmission to Joyce K. McDonald,
Assistant United States Attorney, (Joyce. McDonald@usdoj.gov) Office of the United States
Attorney for the District of Maryland, 36 S. Charles Street, Suite 400, Baltimore, Maryland
21201, and to Sydney M. Patterson (spatterson(@marcusbonsib.com), MarcusBonsib, LLC,
6411 Ivy Lane, Suite 226, Greenbelt, Md. 20770.

-s-

Joseph Murtha

JM10016(tev)
